Case 6:17-cv-01001-DCI Document1 Filed 06/02/17( ‘Page 1 of 1 PagelD 1

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UNITED STATES pistricr Cour
MIDDLE DISTRICT OF FLORIDA

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JOHN PETERSON JANVIER, CASE numbers fACN- Ii-oR/-40)-DGE-

535 MONCIA ROSE DR.APT#723 VOTER REGISTRATION NUMBER: 123623677
APOPKA, FLORIDA 32703 DATE OF REGISTRATION: 06/17/2016
(407-394-7700)

PLAINTIFF /PETITIONER,

BILL COWLES, SUPERVISOR OF ELECTIONS

ORANGE COUNTY, FLORIDA

119 W. KALEY ST.
ORLANDO, FLORIDA 32806

DEFENDANT /RESPONDENT (S) ,

COMPLAINT/NOTICE OF APPEAL

COMES NOW, PLAINTIFF/PETITIONER, JOHN PETERSON JANVIER, VOTER
REGISTRATION NUMBER: 123623677/PARTY:FLORIDA DEMOCRATIC PARTY,
ORANGE COUNTY DEMOCRATIC BLACK CAUCUS MEMBER, PRO SE AND FILES THIS

NOTICE OF APPEAL UNDER THE PROVISION [28 U.S.C. 1343(4),441 U.S.

600 AND CHAPTER 98 SECTION 075(5) FLORIDA STATE STATUTES]

DETERMINATION LETTER REMOVED.-SEE ATTCH DOCUMENTS DATED 05/08/2017

FOR THE FOLLOWING REASON (S):

1.CHARGE IS A MISDEMEANOR, AND IS ELIGILBLE TO VOTE.
RESPECTFULLY SUBMITTED,
Aiea Mtge Rn
535 MONICA ROSE DR.APT#723

APOPKA, FL 32703
PHONE: (407) 394-7700

CERTIFICATE OF SERVICE

I HEREBY CERTIFY THAT A TRUE A CORRENT COPY OF THE FOREGOING HAS BEEN FURNISHED

BY U.S. MAIL TO THE CLERK OF US DISTRICT COURT, 401 W CENTRAL BLVD, ORLANDO, FL 32801

DATE: 5/31/2017
